         Case 3:17-cr-00002-ADC          Document 69        Filed 11/16/18      Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.                                                  CRIMINAL NO. 17-002 (GAG)

 [2] JEAN CARLOS FLORES-TORRES,

 Defendant.

                           REPORT AND RECOMMENDATION
                      RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)

I.      Procedural Background

        On January 3, 2017, a grand jury returned an indictment against [2] Jean Carlos Flores-Torres

(hereinafter referred to as “defendant” or “Flores-Torres”). ECF No. 15. Defendant has agreed to plead

guilty to count two of the indictment. Count two charges the defendant of being a convicted felon in

possession of a firearm, in violation of Title 18, United States Code, Section 922(g)(1) and 924(a)(2).

II.     Consent to Proceed Before a Magistrate Judge

        On October 22, 2018, while assisted by counsel the defendant, by consent, appeared before the

undersigned in order to change his previous not guilty plea to a plea of guilty as to count two of the

indictment. In open court the defendant was questioned as to the purpose of the hearing being held

and was advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be

conducted under oath and that it was expected that his answers would be truthful; (c) the potential

consequences of lying under oath (such as a perjury charge); and (d) his right to have the change of

plea proceedings presided by a district judge instead of a magistrate judge. The defendant was also

explained the differences between the appointment and functions of the two. The defendant consented

to proceed before the undersigned magistrate judge.
           Case 3:17-cr-00002-ADC           Document 69         Filed 11/16/18      Page 2 of 6




III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure

         A.      Rule 11(c)(1) Requirements

                  Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
         guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
         guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
         knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
         guilty does so with an ‘understanding of the nature of the charge and consequences of his
         plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting McCarthy v.
         United States, 394 U.S. 459, 467 (1969)). [There are three core concerns in these
         proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3) knowledge
         of the consequences of the guilty plea. United States v. Cotal-Crespo, 47 F.3d at 4 (citing
         United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).

         United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).

         B. Admonishment of Constitutional Rights

         To assure defendant’s understanding and awareness of his rights, defendant was advised of his

right:

         1.      To remain silent at trial and be presumed innocent, since it is the government who has

the burden of proving his guilt beyond a reasonable doubt.

         2.      To testify or not to testify at trial and that no adverse inference could be made in relation

to his decision not to testify.

         3.      To a speedy trial before a district judge and a jury, at which he would be entitled to see

and cross-examine the government witnesses, present evidence on his behalf, and challenge the

government’s evidence.

         4.      To have a unanimous verdict rendered by a jury of twelve persons which would have

to be convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.

         5.      To use the subpoena power of the court to compel the attendance of witnesses.




                                                      2
         Case 3:17-cr-00002-ADC              Document 69     Filed 11/16/18      Page 3 of 6




       Upon listening to the defendant’s responses, observing his demeanor and his speaking with his

attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined

that defendant is aware of his constitutional rights.

       C. Consequences of Pleading Guilty

       Upon advising defendant of his constitutional rights, he was further advised of the

consequences of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon

having his guilty plea accepted by the court, he will be giving up the above rights and will be convicted

solely on his statement that he is guilty.

       Furthermore, the defendant was admonished of the fact that by pleading guilty he would not

be allowed later on to withdraw his plea because he eventually might disagree with the sentence

imposed, and that if he violates the conditions of supervised release, that privilege could be revoked

and he could be required to serve an additional term of imprisonment. He was also explained that

parole has been abolished.

       In response to further questioning, the defendant was explained, and he understood, that if

convicted on count two he will face the following penalties: a term of imprisonment of not more than

ten (10) years, a fine not to exceed $250,000.00, and a term of supervised release of not more than

three (3) years.

       The defendant was also explained what the supervised release term means. Defendant was also

made aware that the court must impose a mandatory penalty assessment of one hundred dollars ($100)

per offense pursuant Title 18, United States Code, Section 3013(a).

       The defendant was advised that the ultimate sentence was a matter solely for the court to decide

in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon

him, he later could not withdraw his guilty plea for that reason alone. The defendant understood this.



                                                    3
        Case 3:17-cr-00002-ADC           Document 69        Filed 11/16/18      Page 4 of 6




       D. Absence of Plea Agreement

       There is no plea agreement in this case. The defendant was explained that the court, upon

imposing sentence, is not bound by the U.S. Sentencing Guidelines which are advisory. In addition,

the defendant was advised that the court may impose any sentence up to the maximum possible penalty

prescribed by statute. Defendant acknowledged having understood these explanations.

       E. Basis in Fact

       At the change of plea hearing, the defendant admitted that the following facts are true: On

December 23, 2016, Puerto Rico Police Department (PRPD) agents assigned to Canóvanas Police

District received a call from 9-1-1 dispatch about an aggressive person in the area of The Outlets Mall

in Canóvanas, Puerto Rico. While PRPD agents were arriving on scene, they were informed by

dispatch to be aware because another call received informed that the individual had a rifle. According

to PRPD agents, when they entered the parking lot of the above-mentioned shopping mall, citizens in

the area were pointing them towards the vehicle where the individual with the rifle was. The vehicle

was later described as a Nissan, model Sentra, 2015, white in color, bearing Puerto Rico license plate

INJ-668.

       When PRPD agents drove towards the vehicle, it took off and was able to exit the mall onto

PR Road #3, towards Río Grande. PRPD agents assigned to the Transit Division were in the area and

assisted in blocking the road in order for the other agents to catch up the vehicle. PRPD agents were

able to pull over the vehicle on PR Road #3 at the intersection of Road #958, jurisdiction of Río

Grande. PRPD agents approached the vehicle and asked the three occupants to exit the vehicle.

       When the front passenger opened the door and got out of the vehicle, they were able to observe

a barrel and a stock of a rifle that protruded from under the car floor mat. The rear passenger was Jean

Carlos Flores-Torres. Agents arrested all of the occupants of the vehicle which included two adult

males and a minor.
                                                   4
         Case 3:17-cr-00002-ADC              Document 69        Filed 11/16/18     Page 5 of 6




        When Flores-Torres exited the vehicle, he had a black cross body bag that had a clear baggie

containing green leaf substance that appeared to be marijuana. PRPD Agents had a clear view of the

substance because the cross-body bag was open. The subjects appeared to be intoxicated and Flores-

Torres was taken to the hospital and was released later on that day.

        PRPD Agents seized the following firearm from the vehicle: one (1) Colt rifle, Match Target,

M4 Carbine, serial number MTM 402493, loaded with twelve (12) rounds of .223 caliber ammunition.

PRPD agents were able to confirm through the surveillance videos at the mall that some type of

argument and fight occurred among the minor and co-defendant [1] Benjamín Rodríguez-Febres.

PRPD agents also observed in the videos an individual, wearing a grey shirt, who turned out to be

Flores-Torres, reach into the trunk of the white Nissan Sentra, pull out a rifle, and placed it on the

floor of the front passenger side. PRPD agents also observed that [1] Benjamín Rodríguez-Febres took

off on foot and the other three subjects left in the vehicle.

        ATF agents read Flores-Torres his Miranda warnings, which he understood, and agreed to

speak to ATF agents without the presence of counsel. Flores-Torres admitted being at The Outlets

Mall with [1] Benjamín Rodríguez-Febres, the other adult male and the minor. Flores-Torres also

admitted that he reached into the trunk of the vehicle, pulled out a rifle, and placed it inside the vehicle.

He disclaimed knowing its capabilities. About the marijuana found on the bag he was carrying, Flores-

Torres indicated that he bought it for another person. The investigation further revealed that Flores-

Torres has been previously convicted of crime punishable by more than one year of imprisonment.

The firearm and ammunition seized affected, and or traveled interstate or foreign commerce.

        F. Voluntariness

        The defendant accepted that no threats had been made to induce him to plead guilty and that

he did not feel pressured to plead guilty.



                                                     5
         Case 3:17-cr-00002-ADC           Document 69        Filed 11/16/18      Page 6 of 6




IV.    Conclusion

       The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of

Criminal Procedure, has entered a plea of guilty as to count two of the indictment. After cautioning

and examining the defendant under oath and in open court, concerning each of the subject matters

mentioned in Rule 11, as described in the preceding sections, I find that defendant is competent to

enter this guilty plea, is aware of the nature of the offense charged and the maximum statutory penalties

that the same carries, understands that the charge is supported by the government’s evidence, has

admitted to every element of the offense charged, and has done so in an intelligent and voluntary

manner with full knowledge of the consequences of his guilty plea. Therefore, I recommend that the

court accept the guilty plea of the defendant and that the defendant be adjudged guilty as to count two

of the indictment.

       Any objections to this report and recommendation must be specific and must be filed with the

Clerk of Court within fourteen (14) days of its receipt. Failure to timely file specific objections to the

report and recommendation is a waiver of the right to review by the district court. United States v.

Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).

       SO RECOMMENDED.

       In San Juan, Puerto Rico, this 16th day of November, 2018.

                                                        s/Marcos E. López
                                                        U.S. MAGISTRATE JUDGE




                                                    6
